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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

ROBERT D. BOLANOWSKI,
Plaintiff,
Cause No.

VS.

CHARLIE LEWIS, JR and QUALITY
CARRIERS, INC.,

Meee meet” Nina Ne ee ee ee Meme Se

Defendants.
. COMPLAINT WITH JURY DEMAND
COMES NOW plaintiff, Robert D, Bolanowski, by and through his attorneys,
Short and Daugherty, P.C., and for his Complaint against defendants, Charlie Lewis, Jr.,
and Quality Carriers, Inc., states as follows:
| PARTIES AND JURISDICTION
1. Plaintiff, Robert D. Bolanowski, hereinafter "Plaintiff’ at all times relevant
to this action, is a citizen of the State of lilinois, being a resident of Anna, Union County,
Illinois. ‘
2. Defendant, Charlie Lewis, Jr., hereinafter "Lewis," is and was at all times
relevant to this action a citizen of the State of Georgia, being a resident of College Park,
Fulton County, Georgia.
3. Defendant, Quality Carriers, Inc., is and was at all times relevant to this

action is a domestic organized and existing under the laws of Illinois, with its principal

place of business located in Illinois.

 

 
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4. Defendant, Quality Carriers, Inc., is engaged the business of
transportation throughout the United States, by use of semi-trucks, including the State
of Illinois, |

5. At all times relevant hereto, Defendant Lewis, was employed by Quality
Carries, Inc., as a truck driver.

6. There is a partial diversity of citizenship of the parties to this action as
Plaintiff and Defendant, Charlie Lewis, Jr. are citizens of different states from one
another.

7, The amount in controversy exceeds $75,000.00, exclusive of costs and
interest. Therefore, this Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1332.

8, Venue for this action is proper in the Southern District of Illinois, pursuant
to 28 U.S.C. § 1391, as the occurrence giving rise to Plaintiff's claim occurred in this
district and division.

COUNT |
(NEGLIGENCE — CHARLIE LEWIS, JR)

1-8. Plaintiff incorporates Paragraphs 1-8 above as if fully set forth herein.

9, On or about March 23, 2019, at approximately 3:08 p.m., plaintiff, Robert
Bolanowski was. driving a 2017 Freightiiner in an eastbound direction on Interstate 30 in
Hempstead County, Arkansas.

10. At the same time and place, defendant was driving a 2015 Freightliner in
an eastbound direction on Interstate 30 in Hempstead County, Arkansas.

11. Plaintiff attempted to changed lanes and therefore defendant Lewis’

vehicle was traveling directly behind plaintiff's vehicie.

 

 

 

 
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12.  At-said time and place, defendant’s vehicle collided with the rear of
plaintiff's vehicle, causing the injuries and damages hereinafter specified.

13. At the aforesaid time and place, it was the duty of defendant Lewis to
exercise ordinary care for the safety of all persons traveling upon the roadway, including
plaintiff.

14. As the aforesaid time and place, the vehicle operated by defendant Lewis
collided with plaintiff's vehicle | breach of the duty of care which defendant Lewis owed
to plaintiff.

15. As the aforesaid time and place, defendant Lewis negiigently committed
one or more of the following acts or omissions which thereby proximately caused
injuries and damages to plaintiff:

a, : Failed to keep a proper lookout; and

b. failed to keep a reasonable distance between his vehicle and
plaintiffs vehicle; and

Cc. failed to reduce speed in order to avoid a collision in violation of
625 ILCS 6/11-601(a); and

d. __ failed to keep his vehicle under control; and

e. failed to use every precaution to avoid a collision.

16. As direct and proximate result of one or more of the aforementioned
negligent acts or omissions of defendant, plaintiff suffered injuries of a personal and
pecuniary nature including but not limited to injuries to his hip, shoulders, neck and

back. He was required to hire the services of doctors and hospitals in curing himself.

 
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WHEREFORE plaintiff, Robert D. Bolanowski, prays for judgment against
defendant, Charlie Lewis, Jr., in an amount greater than SEVENTY-FIVE THOUSAND
DOLLARS ($75,000.00); plus costs of suit.

COUNT Il
(QUALITY CARRIERS, INC.)

1-12. Plaintiff hereby incorporates paragraphs No. 1 through No. 12 of this
Complaint fully as if the allegations were set forth fully herein.

13.  Atall times material, defendant Charlie Lewis, Jr., was assumed to be
under defendant Quality Carriers, Inc.’s, direct supervision, employ and control when he
committed the negligent acts alleged herein.

14. Defendant, Charlie Lewis, Jr., engaged in this conduct while acting in the
course and scope of his employment with the defendant Quality Carriers, Inc., while
serving as an ethployee, agent or servant of the defendant, Quality Carriers, Inc.

15. Defendant, Charlie Lewis, Jr., was operating under the direction and
control of his employer, Quality Carriers, Inc.

16. Defendant, Quality Carriers, Inc., is liable for the negligent conduct of
Charlie Lewis, Jr., under the law of vicarious liability, including the Doctrine of
Respondeat Superior.

17. As adirect result of conduct described herein, plaintiff has suffered the
injuries and damages described herein.

WHEREFORE Plaintiff demands judgment to be entered against the defendant,
Robert D. Bolanowski, in an amount greater than SEVENTY-FIVE THOUSAND
DOLLARS ($75;000.00): plus costs of suit.

 

 
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Respectfully Submitted,

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